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William R. Brown, Esq. (WB5139)
Schuckit & Associates, P.C.
4545 Northwestern Drive
Zionsville, IN 46077
Telephone: (317) 363-2400
Fax: (317) 363-2257
E-Mail: wbrown@schuckitlaw.com

Counsel for Trans Union, LLC

                      UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY (NEWARK)
______________________________________________________________________________

ERIC STOBEZKI,                                      CASE NO. 2:19-cv-14620-ES-SCM
           Plaintiff,
      vs.                                           Judge Esther Salas
                                                    Magistrate Judge Steven C. Mannion
EQUIFAX INFORMATION
SERVICES, LLC; TRANS UNION, LLC;
EXPERIAN INFORMATION
SOLUTIONS, INC.; FRONTIER
COMMUNICATIONS CORPORATION;
and COMENITY CAPITAL BANK;
            Defendants.
______________________________________________________________________________

         TRANS UNION, LLC’S ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFF’S COMPLAINT
______________________________________________________________________________

       Trans Union, LLC (“Trans Union”), by counsel, responds to Plaintiff’s Complaint

(the “Complaint”) as follows. For the Court’s convenience, Plaintiff’s allegations are set forth

verbatim with Trans Union’s responses immediately following.

                                JURISDICTION AND VENUE

       1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as

15 U.S.C. § 1681p et seq.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

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        2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), being that

the acts and transactions occurred here, Plaintiff resides here, and Defendant transacts business

here.

        ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

        3. Plaintiff brings this action for damages arising from the Defendant’s violations of

15 U.S.C. § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).

        ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union denies that Plaintiff is entitled to any damages, costs, fees or other relief from or against

Trans Union. Trans Union states that the allegations of this paragraph are legal conclusions and,

so stating, denies them.

                                             PARTIES

        4. Plaintiff is a resident of the State of New Jersey, County of Bergen, residing at

35 Rector Ct., Bergenfield, New Jersey 07621.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        5. At all times material hereto, Plaintiff was a “consumer” as said term is defined under

15 U.S.C. § 1681a(c).

        ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

        6. Defendant Equifax Information Services, LLC is a consumer reporting agency as

defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities in this

judicial district. Defendant Equifax is a Delaware corporation registered to do business in the



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State of New Jersey, and may be served with process upon The Prentice Hall Corporation System,

Inc.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       7. At all times material here to [sic] Equifax is a consumer reporting agency regularly

engaged in the business of assembling, evaluating and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as said term is defined under 15 U.S.C.

§ 1681(d) to third parties.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       8. At all times material hereto, Equifax disbursed such consumer reports to third parties

under a contract for monetary compensation.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       9. Defendant Trans Union, LLC is a consumer reporting agency as defined by 15 U.S.C.

§ 1681a(f) and conducts substantial and regular business activities in this judicial district.

Defendant Trans Union is a Delaware corporation registered to do business in the State of

New Jersey, and may be served with process upon The Prentice Hall Corporation System, Inc.

       ANSWER: Trans Union admits that it is a “consumer reporting agency” as that term is

defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. Trans Union admits that it is a

Delaware limited liability company with its principal place of business in Chicago, Illinois. Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.



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       10. At all times material here to [sic] Trans Union is a consumer reporting agency

regularly engaged in the business of assembling, evaluating and disbursing information

concerning consumers for the purpose of furnishing consumer reports, as said term is defined

under 15 U.S.C. § 1681(d) to third parties.

       ANSWER: Trans Union admits that it is a “consumer reporting agency” as that term is

defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. Trans Union admits that it is a

Delaware limited liability company with its principal place of business in Chicago, Illinois. Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

       11. At all times material hereto, Trans Union disbursed such consumer reports to third

parties under a contract for monetary compensation.

       ANSWER: As Plaintiff’s allegations are stated and absent a proper definition of the

terms employed, Trans Union states that it lacks knowledge or information at this time sufficient to

form a belief about the truth of these allegations, which has the effect of a denial under Rule

8(b)(5).

       12. Defendant Experian Information Solutions, Inc. is a consumer reporting agency as

defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities in this

judicial district. Defendant Experian is an Ohio corporation registered to do business in the State

of New Jersey, and may be served with process upon the Corporation Trust Company.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       13. At all times material here to [sic] Experian is a consumer reporting agency regularly

engaged in the business of assembling, evaluating and disbursing information concerning



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consumers for the purpose of furnishing consumer reports, as said term is defined under 15 U.S.C.

§ 1681(d) to third parties.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

          14. At all times material hereto, Experian disbursed such consumer reports to third parties

under a contract for monetary compensation [sic]

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

          15.   Defendant Frontier Communications Corporation is a person who furnishes

information to consumer reporting agencies under 15 U.S.C. § 1681s-2 with an address at

401 Merritt 7 Norwalk, CT 06851 and can be served c/o Corporation Service Company at

50 Weston Street, Hartford, CT, 06120.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

          16. Defendant Comenity Capital Bank is a person who furnishes information to consumer

reporting agencies under 15 U.S.C. § 1681s-2, with an address for service at 12795 E. Cottonwood

Parkway, Suite 100, Salt Lake City, Utah 84121.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

                                    FACTUAL ALLEGATIONS

          17. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein with the same force and effect as if the same were set forth at length

herein.



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        ANSWER: Trans Union reasserts its answers and responses set forth herein.

                                 Comenitv Dispute and Violations

        18. On information and belief, on a date better known to Defendants Experian and

Trans Union, Experian and Trans Union prepared and issued credit reports concerning the Plaintiff

that included inaccurate information relating to a Comenity Bank/Westgate account.

        ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of these allegations as they apply to Trans Union, which

has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

        19. The inaccurate information was the appearance of the tradeline on the Plaintiff’s

credit report since it is not his account.

        ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of these allegations as they apply to Trans Union, which

has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

        20. Prior to disputing this information with the Credit Bureaus, the Plaintiff submitted an

ID Theft affidavit, as instructed by the Defendant Comenity Bank.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        21. Despite submission of this ID Theft affidavit, Defendant Comenity Bank continued to

report this tradeline on the Plaintiff’s credit report.



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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       22. Plaintiff notified Experian and Trans Union that he disputed the accuracy of the

information Experian and Trans Union were reporting, on or around September 27, 2018

specifically stating in a letter that he was disputing the trade line as he never had an account with

this company, and furthermore that an ID Theft Affidavit had been submitted to Defendant

Comenity.

       ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of the remaining allegations as they apply to Trans Union,

which has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

       23. It is believed and therefore averred that Defendants Experian and Trans Union

notified Defendant Comenity of the Plaintiff’s dispute.

       ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of the remaining allegations as they apply to Trans Union,

which has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

       24. Upon receipt of the dispute of the account from the Plaintiff by Experian and

Trans Union, Experian and Trans Union failed to conduct a reasonable investigation and




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continued to report false and inaccurate adverse information on the consumer report of the Plaintiff

with respect to the Comenity account.

       ANSWER: Trans Union denies the allegations of this paragraph as they apply to Trans

Union. Trans Union denies that the remaining statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       25. Furthermore, at a minimum Defendant Comenity, failed to mark that account as

disputed despite receiving notice of the Plaintiff’s dispute.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       26. Despite the dispute by the Plaintiff that the information on his consumer report was

inaccurate with respect to the Comenity account, Experian and Trans Union did not evaluate or

consider any of the information, claims, or evidence of the Plaintiff and did not make an attempt to

substantially reasonably verify that the derogatory information concerning the disputed account

was inaccurate.

       ANSWER: Trans Union denies the allegations of this paragraph as they apply to Trans

Union. Trans Union denies that the remaining statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       27.   Notwithstanding Plaintiff’s efforts, Defendants Experian and Trans Union sent

Plaintiff correspondence indicating its intent to continue publishing the inaccurate information and




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Defendants continued to publish and disseminate such inaccurate information to other third

parties, persons, entities and credit grantors.

        ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of these allegations as they apply to Trans Union, which

has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

        28. As of the date of the filing of this Complaint, Defendant Comenity continues to

furnish credit data which is inaccurate and materially misleading, and Defendants Experian and

Trans Union continue to report inaccurate and materially misleading information.

        ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of these allegations as they apply to Trans Union, which

has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

        29. Defendants’ erroneous reporting continues to affect Plaintiff’s creditworthiness and

credit score.

        ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that it lacks knowledge or information sufficient to form a belief about the truth of

these allegations, which has the effect of a denial under Rule 8(b)(5).

        30. As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit score as a

result of the inaccurate information on Plaintiff’s credit file.




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        ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that it lacks knowledge or information sufficient to form a belief about the truth of

these allegations, which has the effect of a denial under Rule 8(b)(5).

                                  Frontier Dispute and Violation

        31. On information and belief, on a date better known to Defendant Equifax, Equifax

prepared and issued credit reports concerning the Plaintiff that included inaccurate information

relating to a Frontier Communications account.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        32. The inaccurate information was the mere presence of the account on Plaintiff’s credit

report as he has never had an account with Frontier.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        33. Plaintiff contacted Frontier themselves to advise that he never opened up an account

with them. Frontier responded to the dispute by advising they have no record of Plaintiff in their

system.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        34. Plaintiff then notified Equifax that he disputed the accuracy of the information

Equifax was reporting, on or around November 21, 2018 specifically stating in a letter that he was

disputing the trade line as he never had an account with this company. Plaintiff advised with

specificity in his letter that Frontier admitted to not having Plaintiff in their system.




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        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        35. It is believed and therefore averred that Defendant Equifax notified Defendant

Frontier of the Plaintiff’s dispute.

        ANSWER: Trans Union states that it lacks knowledge or information sufficient to form a

belief about the truth of these allegations, which has the effect of a denial under Rule 8(b)(5).

        36. Upon receipt of the dispute of the account from the Plaintiff by Equifax, Equifax

failed to conduct a reasonable investigation and continued to report false and inaccurate adverse

information on the consumer report of the Plaintiff with respect to the Frontier account.

        ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

        37. Furthermore, Frontier failed to mark that account as disputed despite receiving notice

of the Plaintiff’s dispute.

        ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

        38. Despite the dispute by the Plaintiff that the information on his consumer report was

inaccurate with respect to the Frontier account, Equifax did not evaluate or consider any of the

information, claims, or evidence of the Plaintiff and did not make an attempt to substantially

reasonably verify that the derogatory information concerning the disputed account was inaccurate.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       39. Notwithstanding Plaintiff’s efforts, Defendant Equifax sent Plaintiff correspondence

indicating its intent to continue publishing the inaccurate information and Defendants continued to

publish and disseminate such inaccurate information to other third parties, persons, entities and

credit grantors.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       40. As of the date of the filing of the filing [sic] of this Complaint, Defendant Frontier

continues to furnish credit data which is inaccurate and materially misleading, and Defendant

Equifax’s reporting of the above-referenced trade line continues to be inaccurate and materially

misleading.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       41. Defendants’ erroneous reporting continues to affect Plaintiff’s creditworthiness and

credit score.

       ANSWER: Trans Union denies the allegations of this paragraph as they apply to Trans

Union. Trans Union denies that the remaining statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).



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          42. As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit score as a

result of the inaccurate information on Plaintiff’s credit file.

          ANSWER: Trans Union denies the allegations of this paragraph as they apply to Trans

Union. Trans Union denies that the remaining statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                    FIRST CAUSE OF ACTION

                           (Willful Violation of the FCRA as to Equifax)

          43. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          44. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          45. Equifax violated 15 U.S.C. § 1601(e) by failing to establish or to follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit report and credit

files that Equifax maintained concerning the Plaintiff.

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).



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       46. Equifax has willfully and recklessly failed to comply with the Act. The failure of

Equifax to comply with the Act include [sic] but are [sic] not necessarily limited to the following:

       a) The failure to follow reasonable procedures to assure the maximum possible accuracy

           of the information reported;

       b) The failure to correct erroneous personal information regarding the Plaintiff after a

           reasonable request by the Plaintiff;

       c) The failure to remove and/or correct the inaccuracy and derogatory credit information

           after a reasonable request by the Plaintiff;

       d) The failure to promptly and adequately investigate information which Defendant

           Equifax had notice was inaccurate;

       e) The continual placement of inaccurate information into the credit report of the Plaintiff

           after being advised by the Plaintiff that the information was inaccurate;

       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

           information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

           be verified, or that the source of information had advised Equifax to delete;

       h) The failure to take adequate steps to verify information Equifax had reason to believe

           was inaccurate before including it in the credit report of the consumer.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).




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       47. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       48. The conduct, action and inaction of Equifax was willful rendering Equifax liable for

actual, statutory and punitive damages in an amount to be determined by a Judge and or Jury

pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       49. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).



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                                  SECOND CAUSE OF ACTION

                         (Negligent Violation of the FCRA as to Equifax)

          50. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          51. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C.

§ 1681 et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          52. Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from

the credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

reinvestigation and by failing to maintain reasonable procedures with which to verify the disputed

information in the credit file of the Plaintiff.

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          53. Equifax has negligently failed to comply with the Act. The failure of Equifax to

comply with the Act include [sic] but are [sic] not necessarily limited to the following;

          a) The failure to follow reasonable procedures to assure the maximum possible accuracy

             of the information reported;




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       b) The failure to correct erroneous personal information regarding the Plaintiff after a

           reasonable request by the Plaintiff;

       c) The failure to remove and/or correct the inaccuracy and derogatory credit information

           after a reasonable request by the Plaintiff;

       d) The failure to promptly and adequately investigate information which Defendant

           Equifax had notice was inaccurate;

       e) The continual placement of inaccurate information into the credit report of the Plaintiff

           after being advised by the Plaintiff that the information was inaccurate;

       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

           information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

           be verified, or that the source of information had advised Equifax to delete;

       h) The failure to take adequate steps to verify information Equifax had reason to believe

           was inaccurate before including it in the credit report of the consumer.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       54. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).



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          55. The conduct, action and inaction of Equifax was negligent, entitling the Plaintiff to

damages under 15 U.S.C. § 1681o.

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          56. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and 1681o.

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                   THIRD CAUSE OF ACTION

                        (Willful Violation of the FCRA as to Trans Union)

          57. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.




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        58. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq., [sic]

        ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

        59. Trans Union violated 15 U.S.C. § 1601(e) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

and credit files that Trans Union maintained concerning the Plaintiff.

        ANSWER: Trans Union denies the allegations contained in this paragraph.

        60. Trans Union has willfully and recklessly failed to comply with the Act. The failure

of Trans Union to comply with the Act include [sic] but are [sic] not necessarily limited to the

following:

        a) The failure to follow reasonable procedures to assure the maximum possible accuracy

             of the information reported;

        b) The failure to correct erroneous personal information regarding the Plaintiff after a

             reasonable request by the Plaintiff;

        c) The failure to remove and/or correct the inaccuracy and derogatory credit information

             after a reasonable request by the Plaintiff;

        d) The failure to promptly and adequately investigate information which Defendant

             Trans Union had notice was inaccurate;

        e) The continual placement of inaccurate information into the credit report of the Plaintiff

             after being advised by the Plaintiff that the information was inaccurate;




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       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

             information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

             be verified, or that the source of information had advised Trans Union to delete;

       h) The failure to take adequate steps to verify information Trans Union had reason to

             believe was inaccurate before including it in the credit report of the consumer.

       ANSWER: Trans Union denies the allegations contained in this paragraph, including its

subparts.

       61. As a result of the conduct, action and inaction of Trans Union, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       ANSWER: Trans Union denies the allegations contained in this paragraph.

       62. The conduct, action and inaction of Trans Union was willful rendering Trans Union

liable for actual, statutory and punitive damages in an amount to be determined by a Judge/[sic]

and or Jury pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies the allegations contained in this paragraph.

       63.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies the allegations contained in this paragraph.

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant, Trans Union, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).




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          ANSWER: Trans Union denies that Plaintiff is entitled to any damages, costs, fees or

other relief from or against Trans Union.

                                    FOURTH CAUSE OF ACTION

                         (Negligent Violation of the FCRA as to Trans Union)

          64. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          65. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C.

§ 1681 et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          66. Trans Union violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information

from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

reinvestigation and by failing to maintain reasonable procedures with which to verify the disputed

information in the credit file of the Plaintiff.

          ANSWER: Trans Union denies the allegations contained in this paragraph.

          67.     Trans Union has negligently failed to comply with the Act.          The failure of

Trans Union to comply with the Act include [sic] but are [sic] not necessarily limited to the

following:

          a) The failure to follow reasonable procedures to assure the maximum possible accuracy

                of the information reported;



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       b) The failure to correct erroneous personal information regarding the Plaintiff after a

            reasonable request by the Plaintiff;

       c) The failure to remove and/or correct the inaccuracy and derogatory credit information

            after a reasonable request by the Plaintiff;

       d) The failure to promptly and adequately investigate information which Defendant

            Trans Union had notice was inaccurate;

       e) The continual placement of inaccurate information into the credit report of the Plaintiff

            after being advised by the Plaintiff that the information was inaccurate;

       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

            information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

            be verified, or that the source of information had advised Trans Union to delete;

       h) The failure to take adequate steps to verify information Trans Union had reason to

            believe was inaccurate before including it in the credit report of the consumer.

       ANSWER: Trans Union denies the allegations contained in this paragraph, including its

subparts.

       68. As a result of the conduct, action and inaction of Trans Union, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       ANSWER: Trans Union denies the allegations contained in this paragraph.

       69. The conduct, action and inaction of Trans Union was negligent, entitling the Plaintiff

to damages under 15 U.S.C. § 1681o.

       ANSWER: Trans Union denies the allegations contained in this paragraph.



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          70.    The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and

1681o.

          ANSWER: Trans Union denies the allegations contained in this paragraph.

          WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant, Trans Union, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).

          ANSWER: Trans Union denies that Plaintiff is entitled to any damages, costs, fees or

other relief from or against Trans Union.

                                   FIFTH CAUSE OF ACTION

                     (Willful Violation of the FCRA as to Defendant Experian)

          71. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          72. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          73. Experian violated 15 U.S.C. § 1601(e) by failing to establish or to follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit report and credit

files that Experian maintained concerning the Plaintiff.



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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       74. Experian has willfully and recklessly failed to comply with the Act. The failure of

Experian to comply with the Act include[sic] but are not necessarily limited to the following:

       a) The failure to follow reasonable procedures to assure the maximum possible accuracy

           of the information reported;

       b) The failure to correct erroneous personal information regarding the Plaintiff after a

           reasonable request by the Plaintiff;

       c) The failure to remove and/or correct the inaccuracy and derogatory credit information

           after a reasonable request by the Plaintiff;

       d) The failure to promptly and adequately investigate information which Defendant

           Experian had notice was inaccurate;

       e) The continual placement of inaccurate information into the credit report of the Plaintiff

           after being advised by the Plaintiff that the information was inaccurate;

       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

           information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

           be verified, or that the source of information had advised Experian to delete;

       h) The failure to take adequate steps to verify information Experian had reason to believe

           was inaccurate before including it in the credit report of the consumer.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       75. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       76. The conduct, action and inaction of Experian was willful rendering Experian liable

for actual, statutory and punitive damages in an amount to be determined by a Judge/[sic] and or

Jury pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       77. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Experian for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).



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          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                   SIXTH CAUSE OF ACTION

                  (Negligent Violation of the FCRA as to Defendant Experian)

          78. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          79. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C.

§ 1681 et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          80. Experian violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information

from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

reinvestigation and by failing to maintain reasonable procedures with which to verify the disputed

information in the credit file of the Plaintiff.

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          81. Experian has negligently failed to comply with the Act. The failure of Experian to

comply with the Act include [sic] but are [sic] not necessarily limited to the following:



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       a) The failure to follow reasonable procedures to assure the maximum possible accuracy

           of the information reported;

       b) The failure to correct erroneous personal information regarding the Plaintiff after a

           reasonable request by the Plaintiff;

       c) The failure to remove and/or correct the inaccuracy and derogatory credit information

           after a reasonable request by the Plaintiff;

       d) The failure to promptly and adequately investigate information which Defendant

           Experian had notice was inaccurate;

       e) The continual placement of inaccurate information into the credit report of the Plaintiff

           after being advised by the Plaintiff that the information was inaccurate;

       f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

           information;

       g) The failure to promptly delete information that was found to be inaccurate, or could not

           be verified, or that the source of information had advised Experian to delete;

       h) The failure to take adequate steps to verify information Experian had reason to believe

           was inaccurate before including it in the credit report of the consumer.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       82. As a result of the conduct, action and inaction of Experian, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       83. The conduct, action and inaction of Experian was negligent, entitling the Plaintiff to

damages under 15 U.S.C. § 1681o.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       84. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and 1681o.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Experian, for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).




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                                 SEVENTH CAUSE OF ACTION

                    (Willful Violation of the FCRA as to Defendant Frontier)

          85. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          86. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          87. Pursuant to the Act, all person[sic] who furnished information to reporting agencies

must participate in re-investigations conducted by the agencies when consumers dispute the

accuracy and completeness of information contained in a consumer credit report.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

          88. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.




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        89. The results of the investigation must be reported to the agency and, if the investigation

reveals that the original information is incomplete or inaccurate, the information from a furnisher

such as the Defendant listed above must report the results to other agencies which were supplied

such information.

        ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

        90. The Defendant Frontier violated 15 U.S.C. § 1681s2-b by the publishing of the

Account Liability Representation; by failing to fully and improperly [sic] investigate the dispute of

the Plaintiff with respect to the Account Liability Representation; by failing to review all relevant

information regarding same [sic] by failing to correctly report results of an accurate investigation

to the credit reporting agencies.

        ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

        91. Specifically, the Defendant Frontier continued to report this account on the Plaintiff’s

credit report after being notified of his dispute regarding the fact that he never had an account with

Frontier.

        ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

        92. Additionally, the Defendant Frontier failed to mark the account despite receiving

notice of the Plaintiff’s dispute.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       93. As a result of the conduct, action and inaction of the Defendant Frontier, the Plaintiff

suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit, and

the mental and emotional pain, anguish, humiliation and embarrassment of credit denials.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       94.   The conduct, action and inaction of Defendant Frontier was willful, rendering

Defendant Frontier liable for actual, statutory and punitive damages in an amount to be determined

by a jury pursuant to 15 U.S.C. § 1601(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       95.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Defendant Frontier in an amount to be determined by the Court pursuant to 15 U.S.C. § 1601(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Frontier for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).



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          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                 EIGHTH CAUSE OF ACTION

                   (Negligent Violation of the FCRA as to Defendant Frontier)

          96. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          97. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C.

§ 1681 et seq., [sic]

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          98. Pursuant to the Act, all persons who furnished information to reporting agencies must

participate in re-investigations conducted by the agencies when consumers dispute the accuracy

and completeness of information contained in a consumer credit report.

          ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

          99. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.



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       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       100.    The results of the investigation must be reported to the agency and, if the

investigation reveals that the original information is incomplete or inaccurate, the information

from a furnisher such as the above-named Defendant must report the results to other agencies

which were supplied such information.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       101.    After receiving the Dispute Notice from Equifax [sic] Defendant Frontier

negligently failed to conduct its reinvestigation in good faith.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       102. A reasonable investigation would require a furnisher such as the above Defendants

to consider and evaluate a specific dispute by the consumer, along with all other facts, evidence

and materials provided by the agency to the furnisher.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       103. Defendant Frontier continued to report this account on the Plaintiff’s credit report

after being notified of his dispute regarding the fact that he never had an account with Frontier.

       ANSWER: Trans Union states that it lacks knowledge or information at this time

sufficient to form a belief about the truth of these allegations as they apply to Trans Union, which

has the effect of a denial under Rule 8(b)(5). Trans Union states that it lacks knowledge or



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information sufficient to form a belief about the truth of the remaining allegations, which has the

effect of a denial under Rule 8(b)(5).

       104. Additionally, the Defendant Frontier failed to mark the account as disputed after

receiving notice of the Plaintiff’s dispute.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       105. The conduct, action and inaction of Defendant Frontier was negligent, entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       106. As a result of the conduct, action and inaction of the Defendant Frontier, the Plaintiff

suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit, and

the mental and emotional pain, anguish, humiliation and embarrassment of credit denials.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       107. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the

Defendant Frontier in an amount to be determined by the Court pursuant to 15 U.S.C. § 1601(n)

and 1681o.




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          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Frontier, for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                   NINTH CAUSE OF ACTION

                    (Willful Violation of the FCRA as to Defendant Comenity)

          108. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          109. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq.

          ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

          110. Pursuant to the Act, all person[sic] who furnished information to reporting agencies

must participate in re-investigations conducted by the agencies when consumers dispute the

accuracy and completeness of information contained in a consumer credit report.



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       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       111. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       112.    The results of the investigation must be reported to the agency and, if the

investigation reveals that the original information is incomplete or inaccurate, the information

from a furnisher such as the above listed above [sic] must report the results to other agencies which

were supplied such information.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       113. The Defendant Comenity violated 15 U.S.C. § 1681s2-b by the publishing of the

Account Liability Representation; by failing to fully and improperly [sic] investigate the dispute of

the Plaintiff with respect to the Account Liability Representation; by failing to review all relevant

information regarding same by failing to correctly report results of an accurate investigation to the

credit reporting agencies.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).




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       114.    Specifically, the Defendant Comenity continued to report this account on the

Plaintiff’s credit report after receiving both an ID Theft affidavit, and a follow up dispute from the

bureaus.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       115. Additionally, the Defendant Comenity failed to mark the account as disputed after

receiving notice of the Plaintiff’s dispute.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       116. As a result of the conduct, action and inaction of the Defendant Comenity, the

Plaintiff suffered damage for the loss of credit, loss of the ability to purchase and benefit from

credit, and the mental and emotional pain, anguish, humiliation and embarrassment of credit

denials.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       117. The conduct, action and inaction of Defendant Comenity was willful, rendering

Defendant Citibank liable for actual, statutory and punitive damages in an amount to be

determined by a jury pursuant to 15 U.S.C. § 1601(n).




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          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          118.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Defendant Comenity in an amount to be determined by the Court pursuant to 15 U.S.C. § 1601(n).

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

          WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Comenity for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

          ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

                                  TENTH CAUSE OF ACTION

                  (Negligent Violation of the FCRA as to Defendant Comenity)

          119. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state[sic] herein with the same force and effect as if the same were set forth at length

herein.

          ANSWER: Trans Union reasserts its answers and responses set forth herein.

          120. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C.

§ 1681 et seq., [sic]




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       ANSWER: Trans Union denies that it violated the FCRA (or any other law). Trans

Union states that the remaining allegations of this paragraph are legal conclusions and, so stating,

denies them.

       121. Pursuant to the Act, all person[sic] who furnished information to reporting agencies

must participate in re-investigations conducted by the agencies when consumers dispute the

accuracy and completeness of information contained in a consumer credit report.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       122. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       123.    The results of the investigation must be reported to the agency and, if the

investigation reveals that the original information is incomplete or inaccurate, the information

from a furnisher such as the above-named Defendant must report the results to other agencies

which were supplied such information.

       ANSWER: Trans Union states that the allegations of this paragraph are legal conclusions

and, so stating, denies them.

       124.    Defendant Comenity is liable to the Plaintiff for failing to comply with the

requirements imposed on furnishers of information pursuant to 15 U.S.C. § 1681s2-b.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       125. After receiving the Dispute Notices from Experian and Trans Union, Defendant

Comenity negligently failed to conduct its reinvestigation in good faith.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       126. A reasonable investigation would require a furnisher such as Defendant Comenity to

consider and evaluate a specific dispute by the consumer, along with all other facts, evidence and

materials provided by the agency to the furnisher.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       127. Additionally, the Defendant Comenity failed to mark the account as disputed after

receiving the dispute letter.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       128. The conduct, action and inaction of Defendant Comenity was negligent, entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.




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       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       129. As a result of the conduct, action and inaction of the Defendant Comenity, the

Plaintiff suffered damage for the loss of credit, loss of the ability to purchase and benefit from

credit, and the mental and emotional pain, anguish, humiliation and embarrassment of credit

denials.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       130. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the

Defendant Comenity in an amount to be determined by the Court pursuant to 15 U.S.C. § 1601(n)

and 1681o.

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).

       WHEREFORE, Plaintiff, Eric Stobezki, an individual, demands judgment in his favor

against Defendant Comenity, for damages together with attorney’s fees and court costs pursuant to

15 U.S.C. § 1681(n).

       ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union as they do not constitute allegations asserted against it, pursuant to

Rule 8(b)(1)(B), and thus are considered denied or avoided under Rule 8(b)(6).




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                                DEMAND FOR TRIAL BY JURY

        131. Plaintiff demands and hereby respectfully requests a trial by jury for all claims and

issues [sic] this complaint to which Plaintiff is or may be entitled to a jury trial.

        ANSWER: Trans Union denies that the statements contained in this paragraph require a

response from Trans Union.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

        a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be awarded for

             each negligent violation as alleged herein;

        b) For actual damages provided and pursuant to 15 U.S.C, § 1640(a)(1);

        c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

        d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

        e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

        f)   For attorney fees and costs provided and pursuant to 15 U.S.C. § 1681n(a)(3),

             15 U.S.C. §1681o(a)(2) and 15 U.S.C. § 1640(a)(3);

        g)    For any such other and further relief, as well as further costs, expenses and

             disbursements of this action as this Court may deem just and proper.

        ANSWER: Trans Union denies that Plaintiff is entitled to any damages, costs, fees or

other relief from or against Trans Union.

                                   AFFIRMATIVE DEFENSES

        1.      Plaintiff has failed to state a claim against Trans Union upon which relief may be

granted.




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         2.    Plaintiff’s state law and common law claims are pre-empted by the Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq.

         3.    Trans Union’s reports concerning Plaintiff were true or substantially true.

         4.    Trans Union has at all times followed reasonable procedures to assure maximum

possible accuracy of its credit reports concerning Plaintiff.

         5.    Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

         6.    Plaintiff’s claims are barred, in whole or in part, by 15 U.S.C. §§ 1681h(e) and/or

1681t.

         7.    At all relevant times, Trans Union acted within the absolute and qualified privileges

afforded it under the FCRA, the United States Constitution, applicable State Constitutions and the

common law.

         8.    Plaintiff’s claims are barred, in whole, or in part, by the equitable theories of

estoppel, waiver and laches.

         9.    Plaintiff has failed to take reasonable steps to mitigate his damages, if any.

         10.   Plaintiff’s damages are the result of acts or omissions committed by Plaintiff.

         11.   Plaintiff’s damages are the result of acts or omissions committed by the other

parties over whom Trans Union has no responsibility or control.

         12.   Plaintiff’s damages are the result of acts or omissions committed by non-parties to

this action over whom Trans Union has no responsibility or control.

         13.   Any claim for exemplary or punitive damages asserted by Plaintiff violates

Trans Union’s rights under the Due Process and Excessive Fines clauses of the Fifth, Sixth, Eighth

and Fourteenth Amendments to the United States Constitution and the analogous provisions of



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applicable State Constitutions and under the First Amendment of the United States Constitution

and the analogous provisions of applicable State Constitutions.

       14.     Trans Union reserves the right to assert additional defenses as may become

apparent through additional investigation and discovery.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, denies that Plaintiff is entitled

to judgment or to any of the relief sought, and respectfully requests that judgment be entered in its

favor and against Plaintiff on all counts set forth in the Complaint, and that Trans Union, LLC, be

awarded its costs incurred in defending this action, along with such other relief as this Court deems

equitable and just.

Date: August 1, 2019                                  Respectfully submitted,


                                                      /s/ William R. Brown
                                                      William R. Brown, Esq. (WB5139)
                                                      Schuckit & Associates, P.C.
                                                      4545 Northwestern Drive
                                                      Zionsville, IN 46077
                                                      Ph: (317) 363-2400 Fax: (317) 363-2257
                                                      E-Mail: wbrown@schuckitlaw.com

                                                      Counsel for Defendant Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 1st day of August, 2019. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s electronic filing.

Yaakov Saks, Esq.                                Daniel F. Fisher, Esq.
ysaks@steinsakslegal.com                         daniel.fisher@mayerbrown.com

       The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 1st day of August, 2019

properly addressed as follows:

None


                                                     /s/ William R. Brown
                                                     William R. Brown, Esq. (WB5139)
                                                     Schuckit & Associates, P.C.
                                                     4545 Northwestern Drive
                                                     Zionsville, IN 46077
                                                     Ph: (317) 363-2400 Fax: (317) 363-2257
                                                     E-Mail: wbrown@schuckitlaw.com

                                                     Counsel for Defendant Trans Union, LLC




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